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                                        No. 25-1348

                       UNITED STATES COURT OF APPEALS
                            FOR THE FIRST CIRCUIT

                            NEW HAMPSHIRE INDONESIAN
                             COMMUNITY SUPPORT, et al.,

                                   Plaintiffs - Appellees,

                                             v.

                       DONALD J. TRUMP, President of the United
                          States, in his official capacity, et al.,

                                  Defendants - Appellants.

           On Appeal from the United States District Court for the District of New
                  Hampshire Civil Action No. 1:25-cv-00038-JL-TSM

                PLAINTIFFS-APPELLEES’ OPPOSITION TO
      DEFENDANTS-APPELLANTS’ MOTION TO HOLD APPEAL IN ABEYANCE


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      Gilles Bissonnette (No. 123868)             Hannah Steinberg
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            Defendants offer no sound basis to hold this case in abeyance. Indeed,

      “[o]nly in rare circumstances will a litigant in one cause be compelled to stand

      aside while a litigant in another settles the rule of law that will define the rights of

      both,” and those circumstances are not present here. Landis v. N. Am. Co., 299

      U.S. 248, 255 (1936). To the contrary, proceeding with briefing and argument in

      parallel with the other pending litigation regarding birthright citizenship will

      ensure that the Court is presented with the full range of plaintiffs, interests,

      evidence, and arguments that bear on the vitally important issues in this case.

      Plaintiffs here—organizations with hundreds of thousands of members

      nationwide—deserve to have their arguments heard and their interests and

      evidence considered as the Court weighs the vital questions in this litigation: A

      challenge to an Executive Order that would upend constitutional citizenship as we

      know it and deny birthright citizenship to millions of children across the country,

      including the children of Plaintiffs’ members.

                                          ARGUMENT

            1. This suit is a challenge to Executive Order No. 14160, titled “Protecting

      the Meaning and Value of American Citizenship” (the “Order”).               The Order

      purports to deny birthright citizenship to certain children born in the United States,

      including the children of Plaintiffs’ members. See New Hampshire Indonesian


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      Cmty. Support v. Trump, No. 25-CV-38-JL-TSM, 2025 WL 457609, at *2 (D.N.H.

      Feb. 11, 2025) (“NHICS”). On February 10, 2025, the district court enjoined the

      Order “with respect to the plaintiffs.” Id. at *6; see Order, NHICS (D.N.H. Feb.

      10, 2025), ECF No. 77 (granting preliminary injunction); Order (D.N.H. Mar. 14,

      2025) (clarifying scope of injunction). Defendants filed a notice of interlocutory

      appeal on April 10, 2025.

            The Doe/New Jersey litigation is two consolidated parallel challenges to the

      Order currently pending before this Court. See Ord. Court at 2, Nos. 25-1169, 25-

      1170 (1st Cir. Mar. 11, 2025). One of those cases is brought by a group of states,

      and yielded a nationwide injunction, which this Court declined to stay. See New

      Jersey v. Trump, 131 F.4th 27 (1st Cir. 2025). The other case, Doe v. Trump, was

      brought by private individuals and organizations and yielded a plaintiff-specific

      injunction. Id. at 33 n.4.

            The government has sought partial stays of three nationwide injunctions

      against the Order from the Supreme Court: the New Jersey injunction, Trump v.

      New Jersey (S. Ct. No. 24A886) (“Stay App.”), as well as injunctions in the Ninth

      and Fourth Circuits, Trump v. Washington (S. Ct. No. 24A885), Trump v. CASA,

      Inc. (S. Ct. No. 24A884). In those stay applications, the government did not argue

      that a stay was warranted by any likelihood of success on the merits of the


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      constitutional or statutory challenges to the Order. See New Jersey, 131 F.4th at 35

      (“The Government expressly declines to make any developed argument that it is

      likely to succeed on appeal in showing that the Executive Order is either

      constitutional or compliant with 8 U.S.C. § 1401.”). Instead, the government has

      argued for a narrowed scope of those injunctions, contending that the State

      plaintiffs lack standing and that the injunctions should be limited to individual

      plaintiffs and identified organizational members. See Stay App. at 4.

            2. An abeyance of the type Defendants seek is strongly disfavored and

      unjustified under the circumstances here.       “Only in rare circumstances will a

      litigant in one cause be compelled to stand aside while a litigant in another settles

      the rule of law that will define the rights of both.” Landis, 299 U.S. at 255. “[T]o

      be entitled to a stay, a party must demonstrate a clear case of hardship if there is a

      danger that the stay will damage the other party.” Austin v. Unarco Indus., Inc.,

      705 F.2d 1, 5 (1st Cir. 1983) (citing Landis, 299 U.S. at 255).

            Here, there is danger that the abeyance Defendants seek will harm Plaintiffs.

      Consider, for example, Plaintiffs’ argument that the Order violates not only the

      Fourteenth Amendment, but also and independently the birthright citizenship

      statute, 8 U.S.C. § 1401(a). In the Doe/New Jersey litigation, Defendants asserted

      below that the plaintiffs did not adequately brief § 1401(a) as an independent


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      ground on which the Order is illegal. See Defs.’ Opp’n to Pls.’ Mots. for Prelim.

      Inj. at 14 n.4, Doe v. Trump, No. 25-cv-10135 (D. Mass. Jan. 31, 2025), ECF No.

      22. The district court rejected that suggestion, see Doe v. Trump, No. CV 25-

      10135-LTS, 2025 WL 485070, at *10 (D. Mass. Feb. 13, 2025), but Defendants

      may renew it before this Court. Indeed, in their appellate brief Defendants seek to

      collapse the constitutional and statutory issues, affording just one page to the latter

      suggesting that it “fails for the same reasons as their constitutional claim.” See

      Appellants’ Br. at 43-44, Doe, No. 25-1169 (1st Cir. Apr. 22, 2025).

            Plaintiffs in this case dedicated extensive briefing below to developing the

      statutory claim as an independent ground to challenge the Order, see Pls.’ Mot. for

      Prelim. Inj. at 8-12, NHICS, ECF No. 24-1; Pls.’ Reply ISO Mot. for Prelim. Inj. at

      10-11, ECF No. 64, leaving no space for Defendants to suggest waiver or

      forfeiture, see Defs.’ Obj. to Pls.’ Mot. for Prelim. Inj. at 26-27, ECF No. 58-1

      (making no such argument). While Plaintiffs believe that any waiver or forfeiture

      argument as to the statutory claim in the Doe/New Jersey litigation would be

      meritless, the possibility that Defendants may so argue nevertheless presents a

      “danger,” Austin, 705 F.2d at 5, that Plaintiffs’ interests could be harmed if they

      are not permitted to fully defend their injunction.

            There is further danger that the abeyance Defendants seek could harm


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      Plaintiffs because this Court could decide issues that directly affect Plaintiffs on a

      record that does not include Plaintiffs’ own evidence. Plaintiffs here represent

      hundreds of thousands of members nationwide, and have submitted evidence of the

      harms the Order imposes on those members. See Pls.’ Reply ISO Mot. for Prelim.

      Inj. at 14; Decl. of Juan Proaño ¶ 2, NHICS, ECF No. 24-3 (Plaintiff League of

      United Latin American Citizens has over 325,000 members nationwide); Decl. of

      Sierra Fontaine ¶ 10, NHICS, ECF No. 24-4 (Plaintiff Make the Road New York

      has over 28,000 members); Dec. of Sandra Pontoh ¶ 2, NHICS, ECF No. 24-2

      (Plaintiff New Hampshire Indonesian Community Support has over 2,000

      members in New Hampshire). Plaintiffs bring their own perspective and evidence

      of injury—different from that advanced by the plaintiff States in New Jersey or the

      Massachusetts-specific organizations and individuals in Doe. See Compl. at 4-5,

      Doe, No. 25-cv-10135 (D. Mass. Jan. 20, 2025), ECF No. 1; Doe v. Trump, No.

      CV 2510135-LTS, 2025 WL 485070, at *3 (D. Mass. Feb. 13, 2025).

            Yet Defendants never come close to establishing “a clear case of hardship”

      to themselves, as would be necessary to overcome the presumption that Plaintiffs

      may proceed in their own suit. Austin, 705 F.2d at 5. They suggest that the

      ordinary appellate process—“the need to prepare additional briefs and appendices

      and review additional district court materials,” Mot. to Hold Appeal in Abeyance


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      at 4, NHICS, No. 25-1348 (1st Cir. Apr. 25, 2025) (“Mot.”)—constitutes such

      hardship.    But litigation always requires some work.           If that were enough,

      abeyance for other litigation would always be available, not “[o]nly in rare

      circumstances.”     Landis, 299 U.S. at 255.         Moreover, by Defendants’ own

      admission, this case involves “the same merits issues” as the Doe/New Jersey

      litigation, Mot. at 3, so preparing their briefs should require limited effort. Nor

      will preparing appendices or reviewing district court proceedings require special

      effort or resources; the record in this case is limited, consisting of declarations, and

      the briefing has been focused. In short, Defendants can offer no good reason to

      force these plaintiffs “to stand aside while a litigant in another [case] settles the

      rule of law that will define the[ir] rights . . . .” Landis, 299 U.S. at 255.

            3.    Unable to find any meaningful harm to themselves, much less the

      requisite “clear case of hardship,” Austin, 705 F.2d at 5, Defendants urge that an

      abeyance will benefit the Court because it will “already have substantial briefing”

      from the Doe/New Jersey litigation. Mot. at 3. But the legality of the Order is an

      enormously significant issue, threatening to strip citizenship from thousands of

      babies born every day and untold numbers of future children, so robust briefing is a

      benefit, not a downside. And as previously explained, Plaintiffs here, representing

      hundreds of thousands of members nationwide, bring their own perspective and


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      evidence of injury. Moreover, they are represented by experienced counsel from

      the National ACLU and affiliates, NAACP Legal Defense Fund, Asian Law

      Caucus, and State Democracy Defenders Fund. Their full participation in litigation

      will advance the briefing and argumentation available to the Court as it considers

      the weighty issues presented here.

            Nor will permitting this appeal to proceed harm or delay the Court’s

      consideration of the Doe/New Jersey case. While the Court declined to adopt the

      briefing schedule from that case here, it did direct the clerk to enter a briefing

      schedule. See Ord., No. 25-1348 (1st Cir. Apr. 17, 2025). Under that schedule,

      Defendants’ opening brief is due on May 27.            Absent unanticipated events,

      Plaintiffs plan to forgo much of the period allowed for their opposition, and instead

      file their own brief shortly after May 27. Doing so will permit briefing in this case

      to be complete shortly after Doe/New Jersey, which will presumptively be

      complete on June 11. See Appellants’ Br. Notice at 2, Doe/New Jersey, Nos. 25-

      1169, 25-1170 (1st Cir. Mar. 11, 2025); see also Fed. R. App. P. 31(a)(1). Nor

      does the Court need to permit duplicative amicus filings, should that be a concern.

      See Mot. at 4. It can, should it choose, simply direct that any amicus filings in

      Doe/New Jersey will also be considered in this case.

            4. Finally, Defendants suggest that this appeal should be held in abeyance


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      pending the Supreme Court’s resolution of the partial stay applications. Mot. at 1,

      4. But the issues before the Court are of limited relevance here. Defendants have

      not sought full stays based on the constitutional or statutory merits. Instead, they

      have focused on state standing, an issue that has no bearing here, and the

      availability of nationwide relief beyond the parties, which the district court did not

      grant in this case. To be sure, Defendants have also argued that any remedy should

      be limited to only identified members of the organizational plaintiffs before the

      Court. But even if the Court agrees with that extreme position as to the scope of

      the injunction, Defendants’ briefing on that issue before this Court takes up only

      two-and-a-half pages of their opening brief in Doe/New Jersey, see Appellants’ Br.

      at 55-57, Doe, No. 25-1169 (1st Cir. Apr. 22, 2025)—hardly the kind of central

      issue that might warrant holding this entire litigation in abeyance. Moreover,

      Defendants have not sought to hold the Doe/New Jersey litigation in abeyance

      pending the resolution of the stay applications at the Supreme Court, despite the far

      larger overlap in issues. Given that circumstance, it makes little sense to hold this

      case in abeyance.




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                                       CONCLUSION

             Defendants’ motion to hold the case in abeyance should be denied.


       Dated: April 28, 2025                   Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE AND SERVICE


                I hereby certify that this document, filed through the CM/ECF system, will

       be sent electronically to the registered participants. In addition, on the date of

       filing I caused a copy of this filing to be sent via email to counsel for the

       Defendants in this appeal, Derek Weiss (Derek.L.Weiss@usdoj.gov) and Brad

       Hinshelwood (Bradley.A.Hinshelwood@usdoj.gov).

                I further certify that this Motion complies with the 5,200-word limit in that

       it contains 1,859 words including the footnotes.


                                                      /s/ Cody Wofsy
                                                      Cody Wofsy (No. 1179414)

      Dated: April 28, 2025




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